Case 18-03401        Doc 14-2    Filed 02/08/18 Entered 02/08/18 15:33:47   Desc Exhibit
                                        b Page 1 of 5


                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                     )
         Nick R. Kelter,                   )           Chapter 13
                                           )           Case No. 18-03401
                                           )           Hon. Timothy A. Barnes
                       Debtor.             )




                             EXHIBIT B
             Case
               Case
                  18-03401
                    16-05137Doc
                              Doc
                                14-2
                                  1 Filed
                                     Filed02/17/16
                                           02/08/18 Entered
                                                    Entered02/17/16
                                                            02/08/1816:57:38
                                                                     15:33:47 Desc
                                                                              DescMain
                                                                                   Exhibit
                                      Document
                                            b Page Page
                                                    2 of 22
                                                         5 of 45
                                                                                                                                         Exhibit B
Fill in this information to identify your case:

Debtor 1                      Nick R Kelter

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:        NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                               Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with            Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                              Occupation           Retired
       Include part-time, seasonal, or
       self-employed work.                    Employer's name

       Occupation may include student         Employer's address
       or homemaker, if it applies.


                                              How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1      For Debtor 2 or
                                                                                                                          non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.       $             0.00    $              N/A

3.     Estimate and list monthly overtime pay.                                             3.      +$             0.00    +$             N/A

4.     Calculate gross Income. Add line 2 + line 3.                                        4.       $          0.00           $       N/A




Official Form 106I                                                       Schedule I: Your Income                                                page 1
            Case
              Case
                 18-03401
                   16-05137Doc
                             Doc
                               14-2
                                 1 Filed
                                    Filed02/17/16
                                          02/08/18 Entered
                                                   Entered02/17/16
                                                           02/08/1816:57:38
                                                                    15:33:47 Desc
                                                                             DescMain
                                                                                  Exhibit
                                     Document
                                           b Page Page
                                                   3 of 23
                                                        5 of 45
                                                                                                                                           Exhibit B
Debtor 1    Nick R Kelter                                                                         Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $              0.00     $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.     $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.     $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.     $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.     $              0.00     $               N/A
      5e.    Insurance                                                                     5e.     $              0.00     $               N/A
      5f.    Domestic support obligations                                                  5f.     $              0.00     $               N/A
      5g.    Union dues                                                                    5g.     $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                    5h.+    $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $               N/A
      8b. Interest and dividends                                                           8b.     $              0.00     $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.     $              0.00     $               N/A
      8e. Social Security                                                                  8e.     $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                  N/A
      8g. Pension or retirement income                                                     8g. $             3,499.97   $                  N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                  N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          3,499.97      $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           3,499.97 + $             N/A = $          3,499.97
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         3,499.97
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                    Schedule I: Your Income                                                     page 2
         Case
           Case
              18-03401
                16-05137Doc
                          Doc
                            14-2
                              1 Filed
                                 Filed02/17/16
                                       02/08/18 Entered
                                                Entered02/17/16
                                                        02/08/1816:57:38
                                                                 15:33:47 Desc
                                                                          DescMain
                                                                               Exhibit
                                  Document
                                        b Page Page
                                                4 of 24
                                                     5 of 45
                                                                                                                                               Exhibit B
Fill in this information to identify your case:

Debtor 1                 Nick R Kelter                                                                      Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS                                              MM / DD / YYYY

Case number
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,500.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                                0.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
        Case
          Case
             18-03401
               16-05137Doc
                         Doc
                           14-2
                             1 Filed
                                Filed02/17/16
                                      02/08/18 Entered
                                               Entered02/17/16
                                                       02/08/1816:57:38
                                                                15:33:47 Desc
                                                                         DescMain
                                                                              Exhibit
                                 Document
                                       b Page Page
                                               5 of 25
                                                    5 of 45
                                                                                                                                                        Exhibit B
Debtor 1     Nick R Kelter                                                                              Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    225.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                      0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                     50.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   350.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                    75.00
10.   Personal care products and services                                                   10. $                                                     60.00
11.   Medical and dental expenses                                                           11. $                                                    145.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    155.00
      15d. Other insurance. Specify: Medicaid                                              15d. $                                                    105.70
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       2,965.70
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       2,965.70
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               3,499.97
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              2,965.70

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                  534.27

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                   Schedule J: Your Expenses                                                                    page 2
